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                                               EXHIBIT A

                              Trustee’s Notice of Sale of De Minimis Assets

      Purchaser              Description of De Minimis     Purchase Price        Terms of Sale
                                        Assets
  Psomagen, Inc.                All active and inactive       $45,000                  As is
(Third party buyer)           trademarks of the Debtor                            (Asset purchase
                                                                              agreement is attached
                                                                              to the proposed order)
  Psomagen, Inc.               All domains and SNS            $10,000                  As is
(Third party buyer)            accounts of the Debtor                             (Asset purchase
                                                                              agreement is attached
                                                                              to the proposed order)




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